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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

___________________________________
                                    :        Case No.: 10-6319
LEIGH RZASA-ORMES,                  :
                                    :
     Plaintiff,                     :        On Appeal From The
                                    :        Bankruptcy’s Court
v.                                  :        October 26, 2010, Order
                                    :        Of Summary Judgment
CONRAD RONCATI and ARTURI,          :
D’ARGENIO, GUAGLARDI & MELITI, LLP,:         CIVIL ACTION
                                    :
     Defendants.                    :
___________________________________

________________________________________________________________

   DEFENDANTS ARTURI, D’ARGENIO, GUAGLARDI & MELITI, LLP AND DR.
  CONRAD RONCATI’S MEMORANDUM OF LAW IN SUPPORT OF ITS APPEAL OF
 THE UNITED STATES BANKRUPTCY’S COURT OCTOBER 26, 2010, ORDER OF
                          SUMMARY JUDGMENT
________________________________________________________________


On the brief: Jason S. Nunnermacker, Esq.




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                             STATEMENT OF FACTS

       This matter began when Plaintiff Leigh Rzasa-Ormes

(“Plaintiff”) and her former business partner, Raymond Van Duren

(“Van Duren”) became embroiled in their own business dispute in

1998.     Plaintiff and Van Duren were partners in twelve

automobile dealerships and related real estate holdings,

operating under the trade name “Ramsey Auto Group” (“RAG”).

On April 11, 2000, Plaintiff and Van Duren entered into a

written Binding Arbitration Agreement to resolve the business

dispute, designating Roncati as arbitrator.           Certification of

Jason S. Nunnermacker, Esq. in Opposition to Plaintiff’s Motion

for Summary Judgment (“JSN Cert.”) Exhibit A 1. Roncati is in his

mid 70’s, a retiree and was the former Bergen County Superior

Court Administrator.

       The Arbitration had two separate phases that initially

addressed the parties’ interests in the dealerships (“First

Phase”) and then the parties’ interest in various real estate

holdings (“Second Phase”).        Van Duren and Plaintiff each agreed

to pay one-half of Roncati’s fees to serve as arbitrator on an

hourly basis and further agreed to pay equally for all expenses

and professional fees incurred by Roncati relating to the

arbitration.

       After conducting several hearings, during the First Phase,


1
  The undersigned’s Certification is entered as Number 29 on the United States
Bankruptcy Docket. For the convenience of the Court, a copy of this
Certification is being forwarded to the Court via overnight mail.

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Roncati issued a partial arbitration award dated March 19, 2001

(“March 2001 Award”).       Plaintiff believed Roncati’s March 2001

Award was unfavorable on the basis that it did not adequately

compensate her interests in the dealerships.           In an attempt to

compel Roncati’s recusal from the Second Phase, and as a mere

litigation tactic, Plaintiff filed a frivolous lawsuit against

Roncati claiming Roncati was biased and acted partially during

the Arbitration.

       The Chancery Division of the Bergen County Superior Court

dismissed Plaintiff’s lawsuit, sua sponte, determining that it

had no basis in law or fact.         The Chancery Court directed that

any further action to vacate the award should await the

completion of the entire arbitration, as the Court perceived the

Plaintiff’s action against Roncati to be no more than a

litigation ploy.

       The Arbitration then continued into the Second Phase, with

Roncati as arbitrator.        He conducted hearings for another three

years and issued a February 4, 2005, award (“February 2005

Award”), which amongst other provisions, directed Plaintiff and

Van Duren to each pay one half of his fee as arbitrator and one-

half of all attorney’s fees he incurred to ADGM.            JSN Cert.

Exhibit B 2.

       The Chancery Division confirmed the February 2005 Award.

Thereafter, Plaintiff appealed the confirmation of the February

2005 Award to the Appellate Division and the Supreme Court

2
  The February 2005 Award was an interim award which was made final by a Final
Arbitration Award issued by Roncati in June 2005.

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arguing that Roncati was biased and incompetent to serve as

arbitrator.   Both the Appellate Division and the Supreme Court

rejected Plaintiff’s arguments and confirmed the February 2005

Award.
                     Post-Arbitration Litigation

     After the issuance of the February 2005 Award, and in spite

of the Chancery Division’s prior rejection of Plaintiff’s bias

claims against Roncati and admonitions against frivolous

pleadings, and while her appeals were still pending, Plaintiff

again filed suit against Roncati alleging bias and other

inappropriate conduct during the Arbitration.         In response,

Roncati filed a counterclaim demanding that Plaintiff pay one-

half of his Arbitration fees and his counsel fees incurred

during the Arbitration, and asserting that Plaintiff’s

litigation was frivolous.

     In July 2008, the Law Division of the Bergen County

Superior Court dismissed Plaintiff’s lawsuit against Roncati

with prejudice on the basis that the prior Chancery Court

decision was res judicata, as by this time, the Appellate

Division and Supreme Court found no wrongdoing by Roncati.

      Roncati’s claims for Arbitration fees and counsel fees

then proceeded to trial.

     At that time the Honorable Rachelle Harz, J.S.C. found as a

matter of law that Plaintiff is liable for one-half of Roncati’s

Arbitration fees and one-half of the attorney’s fees he

incurred.

     Accordingly, on February 13, 2009 Judge Harz entered final

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judgment against Plaintiff and in favor of Roncati and ADGM, in

the amount of $201,791.93 (“Final Judgment”).            JSN Cert. Exhibit

C.

       The Final Judgment was docketed with the Superior Court on

February 19, 2009 as a lien against the Plaintiff’s real

property.


                  Enforcement of Final Judgment against Plaintiff

       After the Final Judgment was entered, ADGM received a

payment of $32,015.63 from a third-party entity entitled

Chevrolet of Upper Saddle River (“C.U.S.R”) in relation to its

collection efforts to enforce the Final Judgment. Certification

of Ilissa Churgin Hook, Exhibit C 3. Notably, C.U.S.R is not an

entity in bankruptcy, nor is it listed on Rzasa-Ormes’

bankruptcy petition as an asset of her estate.

       As ADGM and Roncati were undertaking collection efforts, it

determined that Plaintiff received approximately $15,000.00 per

month in commercial rental income from her fifty percent

membership interest in Rag Realty, LLC (“Rag Realty”), a holding

company for multiple commercial real property in Northern Bergen

County, New Jersey. At the request of ADGM, a writ of execution

was issued by the Superior Court on March 3, 2009.            JSN Cert.

Exhibit D.     On March 4, 2009, ADGM prepared to forward the writ

3
 Ms. Hook’s Certification is entered as Number 22 on the United States
Bankruptcy Docket. For the convenience of the Court, a copy of this
Certification is being forwarded to the Court via overnight mail.

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of execution to the Bergen County Sheriff with instructions to

levy the Rag Realty payments to Plaintiff, as well as other

potential assets of the Plaintiff.       However, before the writ was

delivered to the Sheriff, the Plaintiff contacted ADGM and

advised that, to deter further collections efforts, she would

consent to Roncati’s and ADGM’s collecting the Rag Realty

payment each month until the Final Judgment was satisfied.

Therefore, in lieu of formal execution by ADGM and Roncati,

Plaintiff consented to a garnishment of her approximate

$15,000.00 rental income.

      In reliance upon Plaintiff’s offer, ADGM prepared a

consent order pursuant to R. 4:59-1 and withheld service of the

writ to the Sheriff and refrained from further collection

procedures.   However, Plaintiff, once again exhibiting bad

faith, delayed executing the consent order.        Consequently, ADGM

again prepared to send the writ to the Sheriff and to submit an

Order to Show Cause for restraint and turnover of the Rag Realty

payments to Plaintiff.

     On March 11, 2009 ADGM advised Plaintiff that the show-

cause order would be filed the next day.        ADGM also advised that

it would seek to hold Plaintiff liable for the attorney’s fees

incurred for the preparation and filing of the application

pursuant to the June 2005 Award.        The next day, March 12, 2009,

Plaintiff executed the Consent Order, thus agreeing that ADGM

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and Roncati should receive future Rag Realty Payments.           The

Superior Court entered and filed the Consent Order that day.

The Consent Order recited that ADGM and Roncati had the right to

levy upon the Rag Realty payments and that such payments were to

be turned over to ADGM each month, in exchange, ADGM and Roncati

agreed to not pursue any other collection efforts pursuant to

the New Jersey Rules of Court.      JSN Cert. Exhibit E.

     Accordingly, because of the Consent Order there was no need

for ADGM to forward the writ to the sheriff and formally levy

upon the assets of the Plaintiff, which included but were not

limited to, the Rag Realty Payment.       If not for the Consent

Order, the writ would have been forwarded to the Sheriff and the

Rag Realty payment and all other personalty of the Plaintiff

would have been subject to further execution.

    However, despite Plaintiff’s previous bad faith that

continued for years in this matter and ADGM’s and Roncati’s

cooperation and good faith in refraining from executing upon the

Final Judgment any further, it is the C.U.S.R. payment to ADGM

and the Rag Realty payments that Plaintiff now seeks to be

returned under the applicable bankruptcy preference statutes.

However, the C.U.S.R. payments were paid by a third-party

entity, which is not listed as an asset of Plaintiff’s on her




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bankruptcy petition.                      JSN Cert. Exhibit F 4.

           Consequently, as was argued to the trial court and as set

forth below, Plaintiff never had possession of such funds and

therefore these monies were “never an interest of the debtor in

property” pursuant to 11 USC 547(b).

           As to the other payments, they were received pursuant to a

Consent Order, which Plaintiff only executed to avoid ADGM’s

collection levy, while Plaintiff was represented by competent

counsel.            The Consent Order was entered for Plaintiff’s own

benefit, as a gesture of good faith by Roncati and ADGM as she

indicated that she wanted time to satisfy the Final Judgment.

Notably, the Final Judgment was entered and docketed outside the

90 day preference period.

           This Court should be aware that for nearly a decade,

Plaintiff, motivated solely by animosity and bitterness, sought

revenge against Roncati because he made decisions in the

Arbitration that Plaintiff believes were inaccurate and unfair.

Her tactics tormented a former Superior Court trial

administrator who was in his early and mid 70s simply because he

performed his duties as Arbitrator, duties in which Plaintiff

consented to him performing.                            Ten years after the start of the

Arbitration and as a direct result of her constant litigation

tactics and unfounded claims, the Final Judgment and the Consent

4
    Attached as Exhibit F to the JSN Cert. is Schedule B of Plaintiff’s Bankruptcy Petition.

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Order were entered.

     To force the return of the money ADGM and Dr. Roncati

received without at least a trial on the merits of Plaintiff’s

claims, it would only reward Plaintiff’s frivolous and spiteful

litigation tactics in the New Jersey Superior Court.

     Consequently, ADGM and Dr. Roncati respectfully request

that the Court remand this matter to the Bankruptcy trial court

so that a full hearing could be held.




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                             LEGAL ARGUMENT

     I.    SUMMARY JUDGMENT WAS NOT APPROPRIATE AS THERE REMAINED
           A GENUINE DISPUTE OF MATERIAL FACTS WHICH REQUIRED A
           TRIAL ON THE MERITS AND THEREFORE THE BANKRUPTCY’S
           COURT’S OCTOBER 25, 2010 ORDER WAS ERROR


     Federal Bankruptcy Rule 8013 provides that the New Jersey

District   Court   “may   affirm,   modify,   or   reverse    a   bankruptcy

judge’s judgment, order, or decree or remand with instructions

for further proceedings.”       A district court is not to set aside

a finding of fact unless “clearly erroneous.” Ibid.               A finding

of fact is clearly erroneous when “the reviewing court on the

entire evidence is left with the definite and firm conviction

that a mistake has been committed.” In re Cellnet Data Sys.,

Inc., 327 F.3d 242, 244 (3d Cir. 2003) (quoting United States v.

United States Gypsum Co., 333 U.S. 364, 395(1948)). A bankruptcy

court’s conclusions of law are subject to de novo or plenary

review by the district court.        See, Donaldson v. Bernstein, 104

F.3d 547, 551 (3d Cir.1997).             When a matter presents both a

question of law and a question of fact, the relevant standard

must be applied to each component of the issue.              See, Chemetron

Corp. v. Jones, 72 F.3d 341, 345 (3d Cir.1995).


     As to summary judgment, Federal Rule of Bankruptcy

Procedure 7056 provides:

           If the pleadings, depositions, answers to
           interrogatories, and admissions on file, together with

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           the affidavits, if any, show that there is no genuine
           issue as to any material fact and that the moving
           party is entitled to a judgment as a matter of law.

     The Court’s role while considering a summary judgment

motion, “is not to weigh evidence, but to determine whether

there is a genuine issue for trial.” Knauss v. Dwek, 289 F.

Supp. 2d 546, 549 (D.N.J 2003).       Of course, this court must

“view all the underlying facts and all reasonable inferences

therefrom in the light most favorable to the party opposing the

motion.” Pacitti v. Macy’s, 193 F. 3d 766, 772 (3rd. Cir. 1999).

     For the reasons set forth below, the bankruptcy trial court

erred in granting Plaintiff’s motion for summary judgment and

entering the October 25, 2010.

     A. THERE WAS A MATERIAL DISPUTE AS TO WHETHER THE CHEVROLET
        OF UPPER SADDLE RIVER PAYMENTS WERE PROPERTY OF
        PLAINTIFF’S ESTATE

     11 USC 547 (b)states:

           Except as provided in subsection (c) or (i) of this
           section, the trustee may avoid any transfer of an
           interest in the Plaintiff in property-

           (1)   to or for the benefit of a creditor;

           (2) for or on account of an antecedent debt owed by
              the Plaintiff before such transfer was made;

           (3)    made while the Plaintiff was insolvent;

           (4)   made-

           (A) on or within 90 days before the filing of the
              petition;
                     …
           (5) that enables such creditor to receive more than

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              such creditor would receive if-

           (A) the case were a case under Chapter 7 of this
              title;

           (B)   the transfer had not been made; and

           (C) such creditor received payment of such debt to
              the extent provided by the provisions of this title.

           [Emphasis added].

     Pursuant to 11 USC 547 (g), the trustee bears the burden of

proving the avoidability of a transfer pursuant to section 547

(b) by a preponderance of the evidence.        Lease-a-Fleet, Inc. v.

Wolk, 151 B.R. 341, 349 (Bankr. E.D. Pa 1993).

     11 USC 101 (54)(D) mandates that “each mode, direct or

indirect, absolute or conditional, voluntary or involuntary, of

disposing of or parting with (i) property or (ii) an interest

property” shall be a transfer under the code.         Therefore:

           In order to establish the existence of a preference
           transfer pursuant to 11 USC 547 (b), the trustee must
           establish the threshold element that the property
           transferred belonged to the Plaintiff.

           Edmondson v. Aladdin Synergetics, Inc. 43 B.R. 277,
           278 (Bankr. M.D. Tenn. 1984).

     The statute requires “that the property transferred by the

Plaintiff be ‘an interest of the Plaintiff in property.’” In Re

Ameriserv Food Distribution, Inc. v. Tramsed Foods, Inc. 315

B.R. 24, 29 (Bankr. Del. 2004).       “It is well settled that for

the avoiding powers to be invoked pursuant to sections 547 and

549, the property transferred must have been property of the

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estate.” In re Parcel Consultants, Inc. v. Guardian Insurance

401, 287 B.R. 41    (Bankr, D.N.J. 2002).       The Supreme Court has

held this to mean that the “property that would have been part

of the estate had it not been transferred before the

commencement of bankruptcy proceedings.” Begier v. IRS, 496 US

53, 58 (1990).    “The minimum requirement of status as a

transferee [to recover payments] is dominion over the money or

other asset, the right to put the money to one’s own purpose.”

Parcel Consultants, Inc., at 46.         Further, for a Plaintiff to

have “dominion” over the property sought to be recovered, she

shall be capable of utilizing the property for “whatever

purposes he or she wishes, be it to invest in lottery tickets or

uranium stocks.” Bonded Fin. Serv. Inc. v. Eur. Am. Bank, 838 F.

2d 890, 894 (7th Cir. 1988).

     As such, and notably, “the use of another entity’s property

to pay a creditor of the Plaintiff cannot be a preference.”

Hayes Lemmerz International, Inc. v. Hyundai Motor Company, 329

B.R. 136, 141 (D. Del. 2005).

     Similar to the facts at bar, in Ellenberg v. First National

Bank, 15 B.R. 850 (Bankr. N.D. GA, 1981) the Northern District

of Georgia addressed whether a payment made by a third-party to

a creditor of a Plaintiff within the preference period can be

voided by the trustee.     There, the Plaintiff’s father made an

installment loan payment by check to the bank-defendant on

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behalf of his daughter-Plaintiff, which was payable to the bank.

The partial payment was slightly more than the installment due

as it was the father’s intention for the daughter to have the

balance, which equaled approximately $140.00.          The trustee

sought to void the payment by the father as a preference because

the bank required the endorsement of Plaintiff on the check and

therefore, as alleged, it was briefly in Plaintiff’s control,

i.e., possession.    Id., p. 851.

     Rejecting the trustee’s claim, the Court stated:

           A consideration of the totality of the circumstances
           shows clearly that this result cannot be reached when
           viewed in light of the overriding policies and spirit
           of the Bankruptcy Code. We note that there is no
           reason why a third-party cannot take it upon himself
           to pay the debts of another and therefore help in his
           own way to facilitate the Plaintiffs eventual fresh
           start.

           [Ibid].

     The Court further held:

           The check payable to [Defendant] was never meant to be
           paid to Plaintiff, but was intended to directly pay
           her debt. The estate of the Plaintiff has not been
           diminished, and that is the concern of 547(b). To
           find a preference on the facts before us would not do
           equity among the parties.

           [Id., p. 852].

     Here, as in Ellenberg, a third party, General Motors,

issued two checks payable to another third-party entity,

C.U.S.R.   Certification of Ilissa Hook, Exhibit C.         The checks

were not payable to Plaintiff, or any other entity owned by

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Plaintiff seeking bankruptcy protection.        The checks were never

deposited into Plaintiff’s bank accounts.        Plaintiff, as the

plaintiff in Ellenberg, simply endorsed the checks to ADGM.

These checks were never part of the bankruptcy estate, nor were

they ever in the Plaintiff’s possession. Further, these checks

are not even payable to Plaintiff.

     Nothing highlights this point better than the fact that

C.U.S.R is not listed as an asset on Plaintiff’s bankruptcy

petition.    JSN Cert. Exhibit F. Quite simply, Plaintiff cannot

now claim an interest in property, specifically C.U.S.R, when

that asset is not listed on her petition.

     Therefore, the C.U.S.R payments were never a part of the

estate and were never in Plaintiff’s position.         Consequently,

Plaintiff cannot recover such payment and the trial Court erred

in granting Plaintiff’s motion to recover such payments from

Defendants.

     B. ADGM AND RONCATI WERE ENTITLED TO DISCOVERY AS TO THE
        RELATIONSHIP AMONGST PLAINTIFF, CHEVROLET OF UPPER SADDLE
        RIVER AND RAMSEY CHEVROLET-GEO, INC.

     Federal Rules of Civil Procedure provide:

     When Facts Are Unavailable to the Nonmovant. If a
     nonmovant shows by affidavit or declaration that, for
     specified reasons, it cannot present facts essential to
     justify its opposition, the court may:

     (1)    defer considering the motion or deny it;

     (2)    allow time to obtain affidavits or declarations or to
            take discovery; or

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        (3)   issue any other appropriate order.

        [Emphasis added. Fed. R. Civ. P. 56 (d)].

        Here, after the Final Judgment was entered, ADGM received a

payment of $32,015.63 from C.U.S.R in relation to its collection

efforts to enforce the Final Judgment. Certification of Ilissa

Churgin Hook, Exhibit C. Notably, and acknowledged by Plaintiff

in her reply papers and at oral argument on the motion, C.U.S.R

is not an entity in bankruptcy, nor is it listed on Rzasa-Ormes’

bankruptcy petition as an asset of her estate.

        It was not until Defendants reviewed Plaintiff’s reply

papers on the morning of October 18, 2010, the day of oral

argument for Plaintiff’s Motion for summary judgment, that the

Defendants learned that Plaintiff alleges C.U.S.R is simply the

trade name for Ramsey Chevrolet-Geo, Inc. (“Ramsey Chevrolet”),

an entity listed on Plaintiff’s petition.           Reply Certification

of Leigh Rzasa-Ormes, ¶3 5.       Therefore, Plaintiff argued in her

reply papers and during oral argument that as C.U.S.R. and

Ramsey Chevrolet are the same entity, the payments from General

Motors were part of the Plaintiff’s estate and subject to

recovery as a preference transfer.

        Clearly, the Defendants would have no knowledge that

Plaintiff intended to posit that C.U.S.R and Ramsey Chevrolet
5
 Plaintiff’s Reply Certification is entered as number 30 on the United States
Bankruptcy Court’s Docket. A copy of same is being forwarded to the Court
via overnight mail.

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were the same entity as Plaintiff did not identify such

relationship, either in her petition or in her discovery

responses.   It is simply inequitable and prejudicial to the

Defendants to learn at the literal 11th hour that Plaintiff

claims that C.U.S.R. and Ramsey Chevrolet are the same entity

and that such payments from General Motors were therefore part

of her estate.

     In the very least, Defendants should have been allowed to

engage in discovery as to this issue and learn the true

relationship of these entities before judgment was entered by

the trial court.

     Consequently, the trial court’s refusal to allow such

discovery and its judgment compelling Defendants to return the

$32, 015.63 was in error. Therefore, this Court must remand this

matter to the trial court for further proceedings.


     C. THE CONSENT ORDER IS A LIEN AGAINST THE RAG REALTY
        PAYMENTS THAT WAS PROPERLY PERFECTED BEFORE THE
        COMMENCEMENT OF THE PLAINTIFF’S BANRKUPTCY CASE

     The Final Judgment against the Plaintiff in the amount of

$201,791.93 was entered in favor of ADGM and Roncati on February

13, 2009, and docketed with the Clerk of the Superior Court on

February 19, 2009.    Both dates are beyond the 90 day preference

period.   The Final Judgment was not appealed within the time

provided by the New Jersey Rules of Court.        The Plaintiff does


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not contend that the Final Judgment should be avoided, nor that

there was any irregularity in its enforcement.

     Ordinarily, under New Jersey law, a lien against personal

property in favor of a judgment creditor is created by a levy,

which relates back to the date a writ of execution is delivered

to the sheriff.    N.J.S.A. 17-10; In re Ramco American

International, Inc., 754 F. 2d 130, 132 (3d Cir. 1985).           A

judgment creditor who levies prior to the filing of a judgment

debtor’s bankruptcy petition has perfected its lien against the

hypothetical lien of the trustee of the bankruptcy estate.            In

re Blease, 605 F. 2d 907 (3d Cir. 1979); In re Italiano, 66 B.R.

468, 478 (Bankr. D.N.J. 1986).

     New Jersey procedure does not limit enforcement of a judge

to issuance of a writ of execution:

           Execution (a) In General. Process to enforce a
           judgment or order for the payment of money and process
           to collect costs allowed by a judgment or order, shal
           be a writ of execution, except if the court otherwise
           orders . . . .

           [R. 4:59-1 (emphasis added)].

     In addition, New Jersey practice provides for the issuance

of court orders to enforce judgments against income or profits

of a judgment plaintiff:

           When a judgment has been recovered in the Superior
           Court, and where any wages, debts, earnings, salary,
           income from trust funds or profits are due and owing
           to the judgment Plaintiff, or thereafter become due
           and owing to him, to the amount of $48.00 or more a

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            week, the judgment creditor may, on notice to the
            Plaintiff, apply to the court in which the judgment
            was recovered, or to the court having jurisdiction
            over same, and upon satisfactory proofs, by affidavit
            or otherwise, the court shall grant an order directing
            that execution issue against the wages, debts,
            earnings, salary, income from trust funds or profits
            of the judgment Plaintiff.

            [N.J.S.A. 2A:17-50 (emphasis added)].

     Further, a court order is the means by which execution of a

debt due or accruing to the judgment Plaintiff is turned over

from the third party garnishee for the benefit of the judgment

creditor.   N.J.S.A. 2A:17-63.

     New Jersey practice provides broad authority for the entry

of consent judgments and orders.         R. 4:42-1(d).   A judgment or

order entered with the consent of the parties is ordinarily not

appealable for the purpose of challenging its substantive

provisions.   Pressler, Current N.J. Court Rules, Comment Rule

2:2-3[2.2.3] (Gann).

     When bankruptcy courts assess the creation of property

rights during the collection of judgments, it is “well settled

that a party may waive statutory provisions (as well as other

rights) intended for that party’s benefit and not affecting the

public interest.”    In re Evcco Leasing Corp. v. Ace Trucking

Co., 828 F.2d 188, 193 (3d Cir. 1987).        In Evvco Leasing, the

judgment creditor executed against realty prior to personalty in

violation of N.J.S.A. 2A:17-1.      However, it did so based on the


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plaintiff’s representation that it had no personal assets.           Id.

at 190.   The Third Circuit held that plaintiff’s representations

constituted a waiver of its rights under N.J.S.A. 2A:17-1, and

therefore upheld the creditor’s lien.

           A waiver need not be asserted directly or
           expressly. It is well settled that waiver may be
           established by conduct inconsistent with claiming
           the waived right or any action or failure to act
           evincing an intent not to claim the right....
           New Jersey Courts have held that a waiver occurs
           when a party dispenses with the performance of
           something which he or she has a right to exact,
           or does or forbears to do something
           inconsistently with the right or the intention to
           rely on it.... [Plaintiff]’s conduct amounted to
           a waiver as a matter of law.

           [Id. at 195.]

     Here, by entering into the Consent Order, the Plaintiff

waived any right she may have had to enforcement of a lien

through the delivery of a writ of execution to the sheriff and a

subsequent levy.    The Consent Order provides that “Roncati and

[ADGM] are judgment creditors of Leigh Rzasa-Ormes and are

entitled to levy upon the net monthly income paid to Leigh

Rzasa-Ormes from her ownership interest in the RAG Properties”.

The Consent Order decreed that “Joshua Krantz of National

Property Associates [address] is hereby directed to pay Leigh

Rzasa-Ormes’ share of all the net monthly rental proceeds

arising from the RAG Properties directly to the law firm of

[ADGM] as and when due and payable to Rzasa-Ormes”.          The Consent


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Order was received by Krantz and honored by him through the

payment of three monthly installments to ADGM.

     Thus, the Consent Order is the equivalent of a writ of

execution, levied against a garnishee, as to which a turnover

has been entered in order to satisfy a judgment which was

entered outside the 90 day period.       The Consent Order served as

a lien against the RAG Realty payments that had been properly

perfected against the bankruptcy estate and should be honored by

the Bankruptcy Court as to the payments already made thereto.

     As such, the trial court erred in granting Plaintiff’s

motion and this matter should be remanded to the trial court for

further hearing.

     D. EQUITY AND FAIRNESS DEMAND THAT ADGM AND RONCATI RETAIN
       ALL PAYMENTS RECEIVED PRIOR TO THE FILING OF PLAINTIFF’S
       BANKRUPTCY PETITION

     The Second Circuit has held that when considering whether a

transfer is preference pursuant to Section 547, the trial court

shall “look…through form to substance, (and) treat the

transaction according to its real nature.” Katz v. First

National Bank of Glen Head, 568 F. 2d 964, 970 (2d. Cir. 1977).

     In Bailey v. Nelson, 17 B.R. 50 (Bankr. W.D. Ark. 1981),

the Court addressed whether a payment simply endorsed over by

the plaintiff-debtor to the defendant-creditor in partial

satisfaction of a material’s man lien was a preference payment

to be voided.   Id. at 51.     There, the plaintiff was a plumber

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sub-contractor that purchased material from the defendant in the

amount of $9,445.14.     The plaintiff advised defendant that it

could no longer afford making payments on this debt and that it

was “taking bankruptcy”. Ibid.      However, the plaintiff had one

final payment owed to him from the general contractor in the

amount of $4,005.84.     The plaintiff and defendant both went to

the general contractor and received the check at which time

plaintiff promptly endorsed it over to defendant in partial

satisfaction of the debt.      Ibid.

     The Court held that:

           In substance, the payment was simply a payment on
           account of the materials which was owed on account of
           the material-man’s lien of the defendant.
           The debtor simply acted as a conduit for the payment,
           which, under the circumstances detailed above, must be
           regarded as paid only on account of the lien and or
           the express purpose of dissolving it.

           [Id. at p. 52.]

     Moreover, the Court cited equitable principles as well when

holding that the payment at issue was not a voidable preference:

           Even if the bankruptcy estate could be said to be
           entitled to recover the money thus paid, the demands
           of equity and justice would require that the same
           money should be regarded as the proceeds of the
           material against which the defendant’s lien was
           initially asserted and therefore payable to defendant
           from the estate in satisfaction of the lien.

           [Emphasis added.     Ibid.].

     Here, as set forth above, the Final Judgment served as a

lien against Plaintiff’s property.        The Final Judgment was

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entered as the Superior Court recognized the many years of

Plaintiff’s frivolous and spiteful tactics in bringing suit

twice against Roncati.     Plaintiff continued her tactics despite

the fact that the Superior Court’s Chancery Division and Law

Division, both multiple times, the Appellate Division, and even

the New Jersey Supreme Court all found that Plaintiff’s claims

against Roncati were entirely baseless.

     Specifically, after conducting several hearings, during the

First Phase, Roncati issued a partial arbitration award, the

March 2001 Award.    Plaintiff believed Roncati’s March 2001 Award

was unfavorable on the basis that it did not adequately

compensate her interests in the dealerships. In an attempt to

compel Roncati’s recusal from the Second Phase, and as a mere

litigation tactic, Plaintiff filed a frivolous lawsuit against

Roncati claiming Roncati was biased and acted partially during

the Arbitration.

     The Chancery Division of the Bergen County Superior Court,

for the first time, dismissed Plaintiff’s lawsuit, sua sponte,

determining that it had no basis in law or fact.          The Chancery

Court directed that any further action to vacate the award

should await the completion of the entire arbitration, as the

Court perceived the Plaintiff’s action against Roncati to be no

more than a litigation ploy.




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     The Arbitration then continued into the Second Phase, with

Roncati as arbitrator.     He conducted hearings for another three

years and issued the February 2005 Award, which amongst other

provisions, directed Plaintiff and Van Duren to each pay one

half of his fee as arbitrator and one-half of all attorney’s

fees he incurred to ADGM.      JSN Cert. Exhibit B.       The Chancery

Division confirmed the February 2005 Award over Plaintiff’s

vigorous allegations that Roncati was biased and incompetent to

serve as Arbitrator.

       Thereafter, Plaintiff appealed the confirmation of the

February 2005 Award to the Appellate Division and the Supreme

Court arguing, once again, that Roncati was biased and

incompetent to serve as arbitrator.       Both the Appellate Division

and the Supreme Court rejected Plaintiff’s arguments and

confirmed the February 2005 Award. JSN Cert. ¶¶9-12.

     Incredibly, it was not enough for Plaintiff that her claims

were deemed unfounded, as after the issuance of the February

2005 Award, and in spite of the Chancery Division’s prior

rejection of Plaintiff’s bias claims against Roncati and

admonitions against frivolous pleadings, and while her appeals

were still pending, Plaintiff again filed suit against Roncati

alleging bias and other inappropriate conduct during the

Arbitration.




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     In response, Roncati was compelled to file a counterclaim

demanding that Plaintiff pay one-half of his Arbitration fees

and his counsel fees incurred during the Arbitration, and

asserting that Plaintiff’s litigation was frivolous.          In July

2008, the Law Division of the Bergen County Superior Court

dismissed Plaintiff’s lawsuit against Roncati with prejudice on

the basis that the prior Chancery Court decision was res

judicata, as by this time, the Appellate Division and Supreme

Court found no wrongdoing by Roncati. Roncati’s claims for

Arbitration fees and counsel fees then proceeded to trial.           At

that time the Honorable Rachelle Harz, J.S.C. found as a matter

of law that Plaintiff is liable for one-half of Roncati’s

Arbitration fees and one-half of the attorney’s fees he

incurred.

     Accordingly, on February 13, 2009 Judge Harz entered final

judgment against Plaintiff and in favor of Roncati and ADGM, in

the amount of $201,791.93.      JSN Cert.    Exhibit C.    The Final

Judgment was docketed with the Superior Court on February 19,

2009 as a lien against the Plaintiff’s real property. JSN Cert.

¶¶13-19.

     As a direct result to Plaintiff frivolous claims against

Roncati, a man at the time in his early-mid 70s, was compelled

to incur significant attorney’s fees, and great emotional

stress, to defend against allegations that the Chancery

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Division, twice, the Law Division, twice, the Appellate Division

and the Supreme Court all found to be completely without merit.

     Despite Plaintiff’s nearly decade full of bad faith and

disregard for New Jersey Courts, ADGM and Roncati extended her

courtesy and good faith by agreeing to enter into the Consent

Order so that Plaintiff could satisfy the Final Judgment lien

over time, rather than levying on her property.         The levying of

such property was imminent as a writ had already been issued and

was being forwarded to the Sheriff the very next morning, as

well as the filing of an Order to Show Cause to garnish the Rag

Realty payments to Plaintiff.       Both, Plaintiff and her former

counsel are well aware of the immediacy of the levy and

garnishment.

     Indeed, no good deed goes unpunished, as now Plaintiff

incredibly seeks back the payments ADGM and Roncati received.

Payments that were agreed to by the parties to help Plaintiff.

     Consequently, ADGM and Roncati respectfully submit that the

“demands of equity and justice” mandate that this Court find the

trial court committed error in granting Plaintiff’s motion in

its entirety and that this Court remand the matter to allow a

trial on the merits.




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                               CONCLUSION

     As a result of the foregoing, ADGM and Roncati respectfully

request that the Court remand this matter in its entirety to the

trial court for a trial on the merits.



                                         Respectfully submitted,

                                         /S/ Jason S. Nunnermacker

                                         Jason S. Nunnermacker, Esq.
                                         Attorney for Defendants




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